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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 CARDINAL HEALTH 414, LLC                             :
                                                      :
                Plaintiff                             :
                                                      :
        v.                                            :       Case No. 2:19-cv-4121
                                                      :
 TIM PRATOR                                           :
                                                      :
                Defendant                             :

                                          COMPLAINT

       Plaintiff Cardinal Health 414, LLC (“Cardinal Health” or the “Company”) states as follows

for its Complaint against Defendant Tim Prator (“Prator” or “Defendant”):

                                            PARTIES

       1.      Cardinal Health was established under Delaware law and is headquartered in

Dublin, Ohio. Cardinal Health, including its related entities, is a global, integrated, healthcare

services and products company, providing customized services and products for physician offices,

clinical laboratories, medical clinics, hospital systems, pharmacies, ambulatory surgery centers,

and manufacturers throughout the United States and worldwide. Cardinal Health also maintains

robust distribution capabilities. Cardinal Health’s areas of expertise include providing hospitals,

physician offices, medical clinics, pharmacies, third-party payers, and pharmaceutical and medical

device manufacturers with business solutions, patient solutions, treatment information, logistics,

specialized drug and other health care products and services, and product manufacture and

distribution services. This includes nuclear pharmacy and precision health products and services.

       2.      Cardinal Health’s sole member is Cardinal Health 100, Inc., which is incorporated

in Indiana and has its principal place of business in Ohio.
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        3.       Prator is a resident of Georgia, currently residing at 3006 Haseley Court,

Grovetown, Georgia 30813, and is a former employee of Cardinal Health.

                                  JURISDICTION AND VENUE

        4.       The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

there is diversity of citizenship between the parties and the amount in controversy exceeds

$75,000, exclusive of interests and costs.

        5.       Personal jurisdiction and venue are proper in this Court pursuant to the controlling

contract entered into between Cardinal Health and Prator, which is attached as Exhibit 1. See

Prator Agreement for NPS Pharmacy Managers, Supervisors, or Staff Pharmacists (the

“Agreement”) at ¶4.1. Per the Agreement, Prator expressly agreed that “[a]ll disputes arising under

the Agreement shall be brought exclusively in the federal or state courts of Franklin County, Ohio”

and “consent[ed] to the jurisdiction of those courts.” Id.

                                               FACTS

        6.       One of Cardinal Health’s primary business segments involves the marketing and

sale of radiopharmaceuticals to various customers throughout the United States and globally.

These customers include both hospitals and clinics located all over the United States, including in

Georgia. Cardinal Health invests significant resources and time into developing its customers and

training its sales staff.

        7.       Prator was employed at Cardinal Health between February 2003 and October 2018.

The last position Prator held at Cardinal Health was a Manager, Nuclear Pharmacy, in Cardinal

Health’s Nuclear Pharmacy and Precision Health Solutions Division. Prator worked out of

Cardinal Health’s nuclear pharmacy in Augusta, Georgia.




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       8.      In his role as Manager, Nuclear Pharmacy, Prator was responsible for overseeing

Cardinal Health’s radiopharmaceutical sales in Georgia and had access to, and direct contact with,

Cardinal Health’s customers and employees in Georgia. Approximately 25 Cardinal Health

pharmacy staff members worked under Prator.

       9.      Cardinal Health provided Prator with training, technology, confidential business

information, and other resources needed to develop knowledge about Cardinal Health’s nuclear

and radiopharmaceutical products, prices, and sales relationships with Cardinal Health’s

customers. This confidential information included information about Cardinal Health’s business

plans, services, customer contact information and preferences, sales data, revenue and profit data,

changes in pricing, and business and marketing strategies.

       10.     During his employment with Cardinal Health, Prator also had access to Cardinal

Health’s internal confidential information concerning Cardinal Health’s nuclear pharmacy

business and products in Georgia. This included pricing and discount information of Cardinal

Health’s radiopharmaceuticals and the strengths and potential weaknesses of Cardinal Health’s

products and services.

                                  PRATOR’S AGREEMENT

       11.     On January 5, 2006, Prator signed the Agreement with Cardinal Health. Prator’s

acceptance of the Agreement was in consideration for, and a condition of, Prator’s eligibility to

participate in Cardinal Health’s Pharmacy Incentive Compensation Plan.

       12.     In the Agreement, Prator agreed, among other things, to a non-solicitation

provision, which states:

               While employed by the Company and for 12 months afterwards,
               I shall not, without the Company’s prior written consent, directly or
               indirectly (i) solicit, recruit, induce or otherwise encourage
               Company employees to end their employment or engage in any


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                 Competitive Business; and/or (ii) solicit for any Competitive
                 Business any existing Company customer, vendor or supplier with
                 which I had material contact on behalf of the Company in the two
                 years preceding the end of my employment with the Company.

Ex. 1 at ¶1.3.

       13.       The Agreement defines a “Competitive Business” as “a pharmacy or other facility

that competes with the Company’s nuclear pharmacy products and services by selling, distributing,

compounding or dispensing nuclear pharmaceutical products and services in retail or wholesale

markets.” Ex. 1 at ¶1.1. “Competitive Business includes, but is not limited to, a commercial

nuclear pharmacy, a nuclear pharmacy owned or operated by, or on behalf of, a hospital, clinic,

medical practice or any other healthcare provider, and a cyclotron facility that dispenses FDG or

other radioisotopes for medical use.” Id.

       14.       Prator also agreed to a provision restricting his use of the Company’s Confidential

Information, which states:

                 While employed by the Company and for 24 months afterwards,
                 I will not use or disclose, sell, assign, transfer, share or lease the
                 Company’s Confidential Information to any person or entity unless
                 reasonably necessary to perform my authorized duties to the
                 Company.

Ex. 1 at ¶1.4.

       15.       The Agreement defines “Confidential Information” as “information about the

Company’s present or planned business which has not been released publicly.” Ex. 1 at ¶1.4. Such

information “may include trade secrets, inventions, financials, customer information, strategies

and other documents or data in any form, whether written, oral or electronic, regardless of the

storage method.” Id. Confidential Information also includes “information the Company receives

in confidence from customers, vendors, suppliers or other outside entities.” Id.




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       16.     By signing the Agreement, Prator acknowledged and agreed that any violation of

the Agreement’s non-solicitation or confidentiality provisions “would cause the Company

irreparable harm” and that “the Company is entitled to injunctive relief against [him] in addition

to its other rights and remedies.” Ex. 1 at ¶2.4.

                   PRATOR’S POST-EMPLOYMENT ACTIVITIES AND
                          UNFAIR BUSINESS PRACTICES

       17.     Prator resigned from Cardinal Health in October 2018.

       18.     On December 28, 2018, Prator formed Augusta Isotope, LLC (“Augusta Isotope”)

by filing Articles of Organization with the Georgia Secretary of State.

       19.     Prator formed Augusta Isotope as a new nuclear pharmacy to compete directly with

Cardinal Health’s Nuclear Pharmacy and Precision Health Solutions Division.

       20.     Since forming Augusta Isotope, Prator has met with and discussed his new business

with Cardinal Health’s customers throughout the Augusta, Georgia area, including customers with

whom Prator worked while he was employed by Cardinal Health.

       21.     Upon information and belief, Prator has asked those customers whether they would

be willing to invest in Augusta Isotope. He has also communicated with Cardinal Health customers

about moving their business from Cardinal Health to Augusta Isotope.

       22.     Upon information and belief, Prator has showed Cardinal Health’s customers the

plans for his new pharmacy. Prator has discussed Cardinal Health’s pricing information with

customers, prospective customers, and others outside of Cardinal Health. He has also told Cardinal

Health’s customers that Cardinal Health could not beat his or Augusta Isotope’s prices.

       23.     On August 29, 2019, several Cardinal Health customers informed Cardinal Health

representatives that they had met with Prator, that they knew of new competition coming to the

market, and that they had been told Prator’s prices would be better than those of Cardinal Health.


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          24.   At least one customer with whom Prator is believed to have communicated has

provided Cardinal Health with a written notice to cancel its contract with Cardinal Health for

nuclear pharmacy products and services.

          25.   Upon information and belief, Prator has also solicited and/or recruited employees

with whom he worked at Cardinal Health to join him at Augusta Isotope.

          26.   On August 13, 2019, Cardinal Health’s legal counsel sent Prator a letter to address

his improper solicitation of nuclear pharmacy business from Cardinal Health’s customers and other

conduct in violation of the Agreement. A true and accurate copy of the letter is attached as

Exhibit 2.

          27.   Neither Prator nor any counsel or other person acting on his behalf ever responded

to the letter from Cardinal Health’s counsel. Instead, Prator has continued to move forward with

his competing business and violations of the Agreement.

                            COUNT I – BREACH OF CONTRACT

          28.   Cardinal Health incorporates the foregoing Paragraphs as though fully set forth

herein.

          29.   In connection with his employment at Cardinal Health, Prator accepted the

Agreement by signing it on January 5, 2006.

          30.   The Agreement was supported by adequate consideration, including Prator’s

eligibility for Cardinal Health’s Pharmacy Incentive Compensation Plan.

          31.   The Agreement is valid and enforceable and contains reasonable post-employment

restrictions.

          32.   Cardinal Health performed and fulfilled its obligations under the Agreement.




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          33.   By and through his actions as set forth above, including his business

communications with and solicitation of Cardinal Health’s customers and employees, and his use

of Cardinal Health’s Confidential Information, Prator has breached and is continuing to breach his

obligations under the Agreement.

          34.   As a direct and proximate result of Prator’s breaches of the Agreement, Cardinal

Health has suffered and will continue to suffer substantial harm and damages.

          35.   As Prator’s breaches are ongoing and will cause Cardinal Health irreparable harm,

Cardinal Health has no adequate remedy at law.

          36.   Cardinal Health is entitled to damages as a result of Prator’s breaches including,

but not limited to, Cardinal Health’s costs and attorneys’ fees incurred in bringing this action.

Under the Agreement, Prator agreed that a breach of the restrictions in the Agreement would cause

Cardinal Health “irreparable harm” entitling Cardinal Health to “injunctive relief against [him].”

Prator also agreed that Cardinal Health “will be entitled to collect from [him] its monetary damages,

costs and reasonable attorneys’ fees” incurred in enforcing the Agreement. See Ex. 1, ¶2.4.

                 COUNT II – MISAPPROPRIATION OF TRADE SECRETS

          37.   Cardinal Health incorporates the foregoing Paragraphs as though fully set forth

herein.

          38.   Cardinal Health has maintained and developed trade secrets and other Confidential

Information, and has taken reasonable steps under the circumstances to safeguard the

confidentiality and secrecy of its trade secrets and Confidential Information, all of which are

extremely valuable and critical to the operation of its business and must be protected from direct

or indirect disclosure and unauthorized use.




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          39.   That information has independent economic value from not being generally known

to, and not being readily ascertainable by proper means by, Cardinal Health’s competitors who can

obtain economic value from its use. Through his business, which is patterned after and competes

directly with Cardinal Health, Prator will profit unfairly and unlawfully from the actual and/or

inevitable disclosure or use of, and/or reliance upon, Cardinal Health’s trade secrets and other

Confidential Information.

          40.   Prator’s conduct, including by, through and/or on behalf of Augusta Isotope,

constitutes the actual or threatened misappropriation, misuse, and/or inevitable reliance upon

Cardinal Health’s confidential, proprietary and trade secret information in violation of Ohio Rev.

Code §§ 1333.61 to 1333.69.

          41.   The Ohio Trade Secrets Act (the “Act”) provides that actual or threatened

misappropriation of trade secrets may be enjoined. Ohio Rev. Code § 1333.62(a).

          42.   Cardinal Health has taken reasonable steps to safeguard its Confidential

Information and trade secrets.

          43.   Unless Prator is enjoined from disclosing and/or utilizing Cardinal Health’s

Confidential Information and trade secrets, Cardinal Health will continue to be immediately and

irreparably harmed because its competitor will receive and have the use of Confidential

Information (developed through Cardinal Health’s resources) that Prator and Augusta Isotope can

use to their economic advantage and to Cardinal Health’s detriment in competing with Cardinal

Health.

          44.   As a result of Prator’s misappropriation and/or threatened misappropriation of

Cardinal Health’s trade secrets, Cardinal Health has suffered and will suffer immediate and




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irreparable harm, as well as substantial harm and damages in an amount to be proven at trial.

Cardinal Health has no adequate remedy at law.

                             COUNT III – INJUNCTIVE RELIEF

          45.   Cardinal Health incorporates the foregoing Paragraphs as though fully set forth

herein.

          46.   Unless Prator is enjoined from the aforementioned conduct, Cardinal Health will

be irreparably harmed by Prator’s ongoing breaches of the Agreement and by his misappropriation

of its Confidential Information and trade secrets, which has caused and will continue to cause

Cardinal Health the loss of goodwill, loss of reputation, loss of customers and business, and present

and future economic loss.

          47.   Cardinal Health has already suffered and will continue to suffer irreparable injury

and harm to its business, and monetary damages are an inadequate redress for such continuing

injury.

          48.   Cardinal Health has no adequate remedy at law and is entitled to injunctive relief.

          WHEREFORE, Cardinal Health demands judgment as follows:

          A.    Preliminary and permanent injunctive relief that:

                i.     Enjoins Prator, for 12 months following the date of his last breach of the

                       Agreement, from directly or indirectly (including through others at Augusta

                       Isotope) soliciting for any Competitive Business any existing Cardinal

                       Health customer, vendor or supplier with which Prator had material contact

                       on behalf of Cardinal Health in the two years preceding the end of his

                       employment with Cardinal Health;




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           ii.       Enjoins Prator, for 12 months following the date of his last breach of the

                     Agreement, from directly or indirectly (including through others at Augusta

                     Isotope) soliciting, recruiting, inducing or otherwise encouraging Cardinal

                     Health employees to end their employment or engage in any Competitive

                     Business;

           iii.      Enjoins Prator, for 24 months following the date of his last breach of the

                     Agreement, from directly or indirectly (including through others at Augusta

                     Isotope) using or disclosing Cardinal Health’s Confidential Information or

                     trade secrets to any person or entity;

           iv.       Enjoins Prator from otherwise violating the terms of the Agreement; and,

           v.        Requires Prator to immediately return to counsel for Cardinal Health all

                     originals, copies or other reproductions, in any form whatsoever, of any of

                     Cardinal Health’s Confidential Information, trade secret information, and

                     other property;

     B.    Compensatory damages against Defendant in an amount exceeding $75,000.00;

     C.    Punitive and exemplary damages pursuant to Ohio Rev. Code § 1333.63(B);

     D.    Specific performance of the Agreement;

     E.    An award of Cardinal Health’s costs incurred in the prosecution of this action,

           including reasonable attorneys’ fees; and,

     F.    Such other and further relief, legal and equitable, that this Court deems just and

           proper.




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                                           Respectfully submitted,


                                           /s/ Kevin E. Griffith
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